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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OKLAHOMA

   VIDEO GAMING TECHNOLOGIES,
   INC.,
                                                            CASE NO. 17-CV-00454-GKF-JFJ
                   Plaintiff,

           vs.

   CASTLE HILL STUDIOS LLC, et al.

                   Defendants.


                DECLARATION OF ROBERT C. GILL IN SUPPORT
         OF DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE EVIDENCE
   OF PLAINTIFF’S LOST REVENUE, LOST PROFITS, AND LOST PROFIT DAMAGES

           1.      I am an attorney at Saul, Ewing, Arnstein & Lehr LLP, counsel for Defendants

   Castle Hill Studios LLC, Castle Hill Holdings LLC, and Ironworks Development LLC (together

   “Castle Hill”). I was admitted pro hac vice in this matter on October 27, 2017.

           2.      Attached as Exhibit A is a true and correct copy of certain excerpts of Plaintiff’

   Plaintiff’s Sixth Supplemental Objections and Responses to Defendant Castle Hill Studio LLC’s

   First Set of Interrogatories (Nos. 1-13), dated August 3, 2018..

           3.      Attached as Exhibit B is a true and correct copy of certain excerpts of the

   deposition of James Starr.

           4.      Attached as Exhibit C is a true and correct copy of certain excerpts of the FRCP

   30(b)(6) Deposition of VGT (Vice President of Financial Planning and Analysis, Don Kovach).

           5.      Attached as Exhibit D is a true and correct copy of certain excerpts of the

   September 6, 2018 Motion to Compel Discovery Hearing Transcript.
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          6.     I declare under penalty of perjury that the foregoing is true and correct.

   Executed on October 12, 2018 in Washington, District of Columbia.


                                                            /s/ Robert C. Gill
                                                           Robert C. Gill




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                                     CERTIFICATE OF SERVICE
           I hereby certify that on this 12th day of October, 2018, I caused an unredacted copy of the
   foregoing Declaration to be served on the following counsel for Plaintiff who have consented to
   email service, via email:

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                                                         /s/ Robert C. Gill
                                                           Robert C. Gill




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